             Case 1:22-cv-00326-LM Document 71 Filed 04/01/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

Laurie Ortolano,                                )
Plaintiff,                                      )
                                                )
v.                                              )       Civil Action No. 1:22-cv-00326-LM
                                                )
The City of Nashua, et al.,                     )
Defendants.                                     )
                                                )


DEFENDANTS BOLTON AND LEONARD’S MOTION FOR SUMMARY JUDGMENT

        Defendants Steven A. Bolton, Corporation Counsel for the City of Nashua, New

Hampshire, and Celia K. Leonard, Deputy Corporation Counsel for the City of Nashua, New

Hampshire, hereby move for summary judgment pursuant to Rule 56 of the Federal Rules of

Civil Procedure (“FRCP”), as follows:

        1.      Plaintiff has initiated this matter against a number of parties, including Steven A.

Bolton and Celia K. Leonard, Counsel for the City of Nashua, and asserts ten causes of action

alleging “deprivation of civil rights . . . the city of Nashua, through and by its public officials,

has foisted upon her.” Compl. at 4 [Doc. 1].

        2.      The Defendants moved for Judgment on the Pleadings on each of Plaintiff’s ten

causes of action. See Doc. 52.

        3.      On September 26, 2023, this Court granted the Defendants’ Motion for Judgment

on the Pleadings for all but two of Plaintiff’s claims. See Doc. 60.

        4.      The Defendants now move for summary judgment on Plaintiff’s remaining First

Amendment claims, Counts I and II, as they relate to Plaintiff’s claim of retaliation.

        5.      In support of this motion, the Defendants respectfully refer the Court to the

accompanying memorandum of law in accordance with Local Rule 7.1(a)(2).

                                                    1
            Case 1:22-cv-00326-LM Document 71 Filed 04/01/24 Page 2 of 2




       6.      Due to the relief sought by this motion, Defendants did not seek concurrence from

Plaintiff’s counsel. Local Rule 7.1(c).

       WHEREFORE, the Defendants respectfully request that this Honorable Court:

       A. Grant Defendants’ Motion for Summary Judgment; and

       B. Grant such other and further relief as this Court deems just and proper.

                                                     Respectfully submitted,

                                                     Steven A. Bolton and
                                                     Celia K. Leonard,

                                                     By their Counsel,

                                                     UPTON & HATFIELD, LLP,


Date: April 1, 2024                                  /s/ Russell F. Hilliard
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was this day forwarded to all counsel of
record, through the Court’s E-filing system.

                                                     /s/ Russell F. Hilliard
                                                     Russell F. Hilliard




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